         Case 6:16-cr-10141-EFM Document 472 Filed 11/28/18 Page 1 of 18




                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS

________________________________________________________________________

UNITED STATES OF AMERICA,
                  Plaintiff,

               v.                       Case No. 6:16-cr-10141-EFM-01

CURTIS WAYNE ALLEN,
                        Defendant.
________________________________________________________________________
         DEFENDANT CURTIS WAYNE ALLEN’S RESPONSE TO
       GOVERNMENT’S NOTICES OF ADDITIONAL AUTHORITIES
______________________________________________________________________________

     Curtis Allen, joined by co-defendants Patrick Stein and Gavin Wright, responds

to the additional authorities filed by the government relating to the Court’s

determination as to whether the “terrorism enhancement” under Guideline § 3A1.4

applies in this case. As briefed and argued by the parties, the central thrust of the

dispute is whether the government has carried its burden to prove that the

conspiracies were “calculated to influence or affect the conduct of government by

intimidation or coercion, or to retaliate against government conduct.” 1 The

additional authorities submitted by the government do nothing to settle the issue in

the government’s favor.

     First, the government’s additional authorities confirm our argument that this is

a novel issue within the Tenth Circuit. None of the cases submitted by the

government are from the Tenth Circuit, so they are not controlling authority. Of the


1   18 U.S.C. § 2332b(g)(5)(A).


                                           1
          Case 6:16-cr-10141-EFM Document 472 Filed 11/28/18 Page 2 of 18




ten cases cited, the government only submitted case documents for three of them,

including three transcripts of sentencing hearings. Transcripts of sentencing

hearings, which did not even analyze the issue before the Court here, hold little

value as persuasive authority. As explained below, if these cases have any

persuasive value, they all support the defense argument that the terrorism

enhancement does not apply in this case.

     Second, the government submitted ten cases because it said these were cases

where a court imposed the terrorism enhancement “where the defendants’

underlying conduct was an attack on civilians.” 2 This argument miscasts the issue

before the Court.

     There are no Tenth Circuit cases that apply the terrorism enhancement when

the defendants’ target was not government persons or property. But for purposes of

the terrorism enhancement, the target only matters if it is evidence of the intent of

the defendant. 3 Put differently, the target must be part of the proof that the pre-

dominant intent of the defendant was “calculated to influence or affect the conduct

of government by intimidation or coercion, or to retaliate against government

conduct.” 4




2   D.E. 470 at 1.

3   United States v. Wright, 747 F.3d 399, 408 (6th Cir. 2014) (citations omitted).

4   Supra note 1.


                                             2
          Case 6:16-cr-10141-EFM Document 472 Filed 11/28/18 Page 3 of 18




      During oral argument, the government cited only the Mohamud case from the

District of Oregon as a case where only “civilians” were the target. A closer

examination of the Mohamud case shows the differences between cases where the

terrorism enhancement applied for reasons that are not present in our case. If the

Mohamud case has any persuasive value for the Court, it significantly favors the

defense position.

      I. United States v. Mohamud – District of Oregon

      The government offered this case because the defendant “attempted to kill

civilians by detonating bomb at public Christmas Tree lighting ceremony.” 5

Mohamud did not distinguish between civilians and government persons and

property; he intended to use a weapon of mass destruction at a public event at the

Pioneer Courthouse Square in Portland because he wanted to wage violent jihad in

the United States to retaliate for the government’s foreign policy. 6

      The defendant here targeted all “kuffar,” or those who were not believers in

Islam and his crimes arose from his intense opposition to American involvement in

armed conflicts overseas that he believed were religious wars against Muslims. 7 In



5   Id. at 1-2.

6 United States v. Mohamud, 941 F. Supp. 2d 1303, 1308 (D. Or. 2013) (“Mohamud
began thinking of taking part in violent jihad at the age of 15. He originally planned
to wage war in the United States until a dream refocused him on Yemen; he wrote
three articles in 2009 for Jihad Recollections, an on-line magazine promoting violent
jihad against Americans; and he had lengthy email conversations with two men the
FBI believed promoted terrorism.”).

7United States v. Mohamud, 843 F.3d 420, 426 (9th Cir. 2016), cert. denied, 138 S.
Ct. 636, 199 L. Ed. 2d 541 (2018) (“During this time period, Mohamud wrote four
                                            3
       Case 6:16-cr-10141-EFM Document 472 Filed 11/28/18 Page 4 of 18




other words, his clear intent was to retaliate against American foreign policy by

killing people and damaging property – government and civilian – in the city of

Portland.

   Additionally, Pioneer Courthouse Square is located in the center of downtown

Portland, Oregon. Adjacent to the square are several buildings of government

property, both federal and local. Shown here:




articles for Jihad Recollections. Among other things, the articles recommended
physical exercise to prepare for war with the West and analyzed Europe's
vulnerability to a jihadi attack. Mohamud's initial drafts of these articles contained
more incendiary content. For example, Mohamud praised the proficiency of the
September 11, 2001, hijackers who ‘hit them so fast the Americans became
dumbfounded,’ the 2008 Mumbai attackers, who were ‘a great display of quickly
entering the arena of battle and just decimating the kuffar [unbelievers],’ and the
fighters in Afghanistan who attacked landing American helicopters and then
‘finish[ed] off the wounded American soldiers.’”); at 423–249 (“Mohamud said that
‘originally he had planned to wage war within the United States,’ but then he
dreamt that he traveled to Yemen, received training, and went to Afghanistan
where he led an army against the kuffar or the unbelievers.’”); at 429 (“Mohamud
exchanged emails with a friend in Afghanistan.”).


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          Case 6:16-cr-10141-EFM Document 472 Filed 11/28/18 Page 5 of 18




     The Square is named after Pioneer Courthouse, where the U.S. Court of Appeals

for the Ninth Circuit regularly holds oral argument. 8 It also has several public

transit stations (e.g. government property), which are owned and operated by the

City of Portland. 9 Finally, the Christmas Tree lighting ceremony is held annually at

a public square in the heart of the city. We can assume that public gatherings, such




8The Ninth Circuit held oral argument at this courthouse this month and listed the
Pioneer Courthouse address as the location where the Circuit sits. See
https://www.ca9.uscourts.gov/calendar/view.php?hearing=November - The Pioneer
Courthouse, Portland Oregon&dates=5-9&year=2018.

9   See https://trimet.org/.


                                           5
          Case 6:16-cr-10141-EFM Document 472 Filed 11/28/18 Page 6 of 18




as the tree lighting, routinely command the presence of government officials,

particularly law enforcement.

      Finally, the transcripts of the Mohamud sentencing hearing filed by the

government 10 also demonstrate the defendant’s intent to commit a federal crime of

terrorism. The terrorism enhancement applied to Mohamud because he intended to

retaliate against government conduct based on what he viewed as a holy war

between Americans – waged by the American government – against Muslims

overseas. 11

      Unlike the Mohamud case, Mr. Allen’s crime is a civil rights conspiracy that

targeted civilians based upon their race, religion, and country of origin. There is not

sufficient evidence that his conspiracy had any substantial nexus to government

persons, property, or conduct.

      II. The remaining cases involved defendants who intended to commit
          violent jihad in retaliation for government foreign policy and/or
          targeted public or government persons and property.

      For the same reasons as Mohamud, there is little persuasive value in the

remaining cases cited by the government. If they have any value, it leans towards

the defense position because these cases are so factually distinct from our case.




10   D.E. 470-1.

11Id. at 8 (“We know that his contacts with terrorists overseas were substantial and
not insignificant.”); at 9 (“He was given multiple opportunities to back out, even
though in many respects that’s not the role of an al-Qaeda operative played by the
FBI…”); at 56 (“I want everyone to know that Islam does not preach extremist
terroristic hate and to kill innocent people.”).
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       Case 6:16-cr-10141-EFM Document 472 Filed 11/28/18 Page 7 of 18




   For all but two of the cases cited other than Mohamud, the government only

provided brief descriptions of the cases with no supporting case documents. There is

nothing from the descriptions that proves the defendants in these cases specifically

targeted civilians persons and property and, more importantly, that the defendants’

targets were evidence of their intent.

   The opposite is true. All of the cases involved defendants who targeted either

public or government persons or property. All of the cases had clear evidence of the

defendants’ intent to commit a federal crime of terrorism. And in none of these cases

was the application of the terrorism enhancement disputed based on the targets of

the crimes.

   Significantly, in our case 305 and 312 West Mary Street are private property

apartment complexes. This distinction is crucial to the inapplicability of the

terrorism enhancement here.

   Additionally, similar to Mohamud, the defendants in many of the cases below

intended to wage violent jihad in and against the United States. The evidence of

their intent to do so was crystal clear. These defendants targeted American persons

and property, both civilian and government, as part of an ideology that preached

retaliation against American foreign policy. They wanted to kill Americans because

they believed the American government was waging war overseas against their

religious faith. They targeted public venues, both civilian and government. The

application of the terrorism enhancement was not even really disputed in these




                                          7
          Case 6:16-cr-10141-EFM Document 472 Filed 11/28/18 Page 8 of 18




cases. This makes these cases so factually distinct that they are not legally helpful

to the Court here.

         A. United States v. Shazad – Southern District of New York

      The “Times Square Bomber” targeted a public square that is popular with

tourists in Manhattan. In the center of Times Square is a recruiting center for the

United States military, shown here:




      Shazad desired to wage violent jihad and was clear about his intent to retaliate

against government conduct. During his sentencing hearing, he purportedly said:

         I want to plead guilty and I'm going to plead guilty 100 times
         forward because until the hour the US pulls its forces from Iraq
         and Afghanistan and stops the drone strikes in Somalia and
         Yemen and in Pakistan and stops the occupation of Muslim lands
         and stops Somalia and Yemen and in Pakistan, and stops the
         occupation of Muslim lands, and stops killing the Muslims and
         stops reporting the Muslims to its government, we will be
         attacking US, and I plead guilty to that. 12



12   See https://www.theguardian.com/world/2010/sep/19/times-square-bomber.


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           Case 6:16-cr-10141-EFM Document 472 Filed 11/28/18 Page 9 of 18




      This statement again demonstrates why the Shazad case is distinct from our case.

Shazad wanted to attack Americans to influence the government’s policy and conduct.

He was radicalized by the wars in Iraq and Afghanistan, and he demanded the

government withdraw forces from those and other conflicts. His terrorism crimes

were laser focused on his intent to take action in retaliation to government conduct;

there is no evidence that Mr. Allen’s conduct had the same intent.

           B. United States v. Rahimi – Southern District of New York

      The “Chelsea Bomber” detonated bombs on public streets in New York City. 13 He

“wanted to be part of jihad” and he felt targeted for being a Muslim in America. 14

Rahimi was “motivated by violent ideology espoused by terrorist leaders like Usama

Bin Laden and groups like al Qaeda, Islamic State in Iraq and al Sham (ISIS), and

al Qaeda in the Arabian Peninsula.” 15 His attack was the culmination of his pursuit

to follow these groups’ directives “to carry out jihad, or holy war, against the United

States and kill as many Americans as possible.” 16

      Like Mohamud and Shazad, the evidence of Rahimi’s intent was clear – to

commit acts of terrorism to retaliate against American government conduct. Unlike

this case, the evidence of Rahimi’s intent was not overwhelming and not disputed.




13   D.E. 470 at 2.

14   https://www.cnn.com/2018/02/13/us/rahimi-sentence-chelsea-bomber/index.html.

15   16-cr-760-RMB, D.E. 188 at 1.

16   Id.


                                           9
         Case 6:16-cr-10141-EFM Document 472 Filed 11/28/18 Page 10 of 18




Again, this case provides no value to the Court in its determination whether to

apply the terrorism enhancement.

         C. United States v. Suarez – Southern District of Florida

      The defendant targeted public beaches in Key West, Florida. 17 He also desired to

wage violent jihad and his convictions included being guilty of providing material

support to a foreign terrorist organization, ISIS. 18 He “professed membership in,

and allegiance to, a foreign terrorist organization, the Islamic State, and sought to

recruit like-minded individuals for the claimed purpose of carrying out attacks.” 19

      This case provides no persuasive value to the Court here. Providing material

support to foreign terrorist organizations, and attempting to carry out attacks in

their name, was clear evidence of Suarez’s intent. He targeted a public beach to kill

Americans in retaliation for government conduct. The actual target here was

ancillary to the additional evidence of his intent to “wage violent jihad.”

         D. United States v. Aldawsari – Northern District of Texas

      The defendant targeted both government persons and property and public

spaces. Aldawsari became “committed to ‘jihadist operations’ and compiled a list of

targets for bombing attacks.” 20 His targets included the Dallas residence of former




17   D.E. 470 at 2.

18   18 U.S.C. § 2339B(a)(1).

19   15-cr-10009-JEM, D.E. 169 at 3-4.

20   United States v. Aldawsari, 740 F.3d 1015, 1017 (5th Cir. 2014).


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           Case 6:16-cr-10141-EFM Document 472 Filed 11/28/18 Page 11 of 18




President George Bush (private property/government person), and the Cotton Bowl,

which is owned by the City of Dallas and located at the site of the Texas State

Fair. 21

      The Fifth Circuit decision makes no mention whether Aldawsari knew the

Cotton Bowl is government property. But certainly he targeted the residence of

George W. Bush because he knew Mr. Bush was a former President of the United

States. Like the other cases above, this case did not provide any analysis regarding

the application of the terrorism enhancement that is helpful to the Court here

because by targeting a former President, the evidence of Aldawsari’s intent was

clear – to retaliate for government policy and conduct.

           E. United States v. El Bahnasawy – Southern District of New York

      The defendant was a Canadian citizen who pledged allegiance to ISIS, worked

online to support ISIS’s recruitment and attack planning efforts, and plotted with

fellow ISIS’s supporters to carry out bombings in New York City. 22 His convictions

included being guilty of providing material support to a foreign terrorist

organization, ISIS. His targets were public spaces, including government property,

in New York City, such as: Times Square, public subway system, and public concert

venues. 23 Like the other cases above, this case provides no value to the Court in

resolving the issue before it.


21   See https://fairpark.org/index.php/en/.

22   16-cr-376-RMB, D.E. 99 at 6.

23   D.E. 470 at 2-3.

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          Case 6:16-cr-10141-EFM Document 472 Filed 11/28/18 Page 12 of 18




         F. United States v. Garey – Middle District of Georgia

      The targets in the Garey case included government property, such as City Hall

in Macon, Georgia 24 and an interstate highway. 25 Like the cases above, when the

evidence supports that a defendant targeted government persons and property, the

analysis whether to apply the terrorism enhancement based on the targets was not

litigated in Garey. Presumably, that is because the evidence of the defendant’s

intent was clear.

      The issue in Garey was whether the definition of a “federal crime of terrorism”

for purposes of the terrorism enhancement includes conduct that transcends

national boundaries. 26 The Garey court, affirmed by the Eleventh Circuit, concluded

the offense conduct does not have to transcend national boundaries to be a federal

crime of terrorism. 27

      Neither the district nor appellate court in Garey faced the same issue present

here. That is likely because it was obvious by the target selection (including

government persons and property) that the defendant’s conduct was “calculated to

influence or affect the conduct of government by intimidation or coercion, or to



24   Id. at 3.

25United States v. Garey, 383 F. Supp. 2d 1374, 1376 (M.D. Ga. 2005), aff'd, 546
F.3d 1359 (11th Cir. 2008).

26   Id. at 1377.

27United States v. Garey, 546 F.3d 1359, 1363 (11th Cir. 2008) (“we conclude the
definition of a ‘federal crime of terrorism’ does not require the offense conduct to
transcend national boundaries.”).

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         Case 6:16-cr-10141-EFM Document 472 Filed 11/28/18 Page 13 of 18




retaliate against government conduct.” 28 Indeed, the government’s filing here leaves

no doubt that Garey intended to influence conduct of government by intimidation

because, as it stated, Garey threatened to bomb these buildings “unless the

government paid him to stop.” 29

         G. United States v. Wright – Northern District of Ohio

      The Wright case was discussed at length during oral argument. In several ways,

it is clearly distinguishable from our case for purposes of applying the terrorism

enhancement.

      The government presumably included Wright in its list of cases because “the

defendants planned to bomb a ‘non-federal bridge.’” 30 This fact makes no difference

for purposes of the terrorism enhancement. The definition of “federal crime of

terrorism” does not include any language limiting “government” to the federal

government; it simply says “government.” 31

      In Wright, the defendants decided to detonate “explosives at the base of the

Route 82 bridge in Brecksville, part of the Ohio state highway system.” 32 The




28   18 U.S.C. § 2332b(g)(5)(A).

29   D.E. 470 at 3.

30   Id. (emphasis added).

31   18 U.S.C. § 2332b(g)(5)(A).

32   Wright, 747 F.3d at 405-406 (emphasis added).


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         Case 6:16-cr-10141-EFM Document 472 Filed 11/28/18 Page 14 of 18




Ohio state highway system is government property so the target was evidence of the

Wright defendants’ intent to commit a federal crime of terrorism.

      The government acknowledged the defendants in Wright ‘“expected the

government would respond to the bridge-bombing’ by taking new security measures,

anticipated combat with law enforcement officers, and considered other federal

facilities as possible targets.” 33 There are no similar facts in our case, which

demonstrate why the Wright defendants received the terrorism enhancement when

they clearly intended to “affect the conduct of government by intimidation or

coercion.”

         H. United States v. Abdulmutallab – Eastern District of Michigan

      The “underwear bomber” attempted to detonate a bomb aboard a commercial

airplane that departed from Amsterdam and was inbound for Detroit on Christmas

Day in 2009. 34 The defendant was sent to the United States from Africa on a

“martyrdom mission” as part of the “central conflict between al Qaeda and the

United States.” 35 He was recruited, and inspired, by the radical cleric, Anwar al-

Awlawki in Yemen. 36 His crimes included a Conspiracy to Commit an Act of


33   D.E. 470 at 3.

34
     United States v. Abdulmutallab, 739 F.3d 891, 895 (6th Cir. 2014)

35Scott Shane, “Inside Al Qaeda’s Plot to Blow Up an American Airliner,” NEW
YORK TIMES (Feb. 22, 2017).
36
  Abdulmutallab, 739 F.3d at 902 (“Abdulmutallab studied the teachings of the
radical Imam Anwar Awlaki, which prompted his decision to travel to Yemen for
the purpose of meeting Awlaki. … While in Yemen, Abdulmutallab agreed to carry
out the martyrdom mission.”).

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         Case 6:16-cr-10141-EFM Document 472 Filed 11/28/18 Page 15 of 18




Terrorism Transcending National Boundaries. 37 There is simply no factual

comparison of the Abdulmutallab case to our case.

      Although Abdulmutallab’s bomb was intended to detonate inside the cabin of an

airplane that was the property of Northwest Airlines, it cannot be said that the

target of this case was purely civilian persons and property. We don’t know who was

on that airplane. Also, aviation and commercial airlines inside the United States

are inextricably intertwined with the federal government, through regulation by the

Federal Aviation Administration and security through the Department of Homeland

Security.

      More important, the target in Abdulmutallab was irrelevant to the application of

the terrorism enhancement. The evidence of his intent was overwhelming. This case

provides no value to the Court here.

         I. United States v. Crawford – Northern District of New York

      The government’s supplemental notice included the Crawford case where, it

said, “the defendants’ underlying conduct was an attack on civilians.” But the

exhibits submitted by the government with this supplemental notice counter that

claim.

      The defendant here also targeted government persons and property. He

“identified Muslims and others (including President Obama, Governor Cuomo, and

the United Nations General Assembly) as intended targets, and researched

locations for the first uses of his radiation weapon, including local mosques and



37
     18 U.S.C. §§ 2332b(a)(1) and 2332b(a)(2).
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          Case 6:16-cr-10141-EFM Document 472 Filed 11/28/18 Page 16 of 18




Islamic centers in the Albany, New York area.” 38 He also sought contacts with a

foreign intelligence service – the Israeli intelligence agency, Mossad. 39

      Again, unlike Mr. Allen, the defendant in Crawford specifically targeted the

government as part of his criminal plot. Targeting the government, including the

President of the United States, provided clear evidence of his intent to commit a

federal crime of terrorism. Similar evidence is not present here.

      III.    In comparing the list of cases submitted by the government to
              facts of this case, the Court should not rely on the government’s
              citation to “real time” draft trial transcripts.

      Finally, to the extent the Court relies on the government’s recitation of the facts

in its sentencing memo to make comparisons to these cases, or for any other

purpose of analysis regarding the applicability of the terrorism enhancement, we

ask the Court to give no weight to the government’s citation to trial testimony from

“real time” transcripts. 40 We make this point being mindful of the Court’s directive

regarding the use of “real time” transcripts, and we also note we first raised this

same concern about the use of “real time” transcripts in the first round of post-trial

filings. 41




38   D.E. 471-1 at 8.

39   Id. at 9.

40   D.E. 449 at 19-29.

41   D.E. 422 at n. 8.
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       Case 6:16-cr-10141-EFM Document 472 Filed 11/28/18 Page 17 of 18




                                     Conclusion

   The additional authorities submitted the government do not support its position

that the terrorism enhancement applies in this case. Rather, based on the

significant factual differences between those cases and this case, these cases provide

little persuasive value at all, or to the extent they have value, they all support the

defense position this enhancement does not apply. We ask the Court to sustain the

defense objection to the terrorism enhancement.

                                        Respectfully submitted,


                                        s/ Melody Brannon
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                                           17
      Case 6:16-cr-10141-EFM Document 472 Filed 11/28/18 Page 18 of 18




                      CERTIFICATE OF SERVICE

   I hereby certify that on November 28, 2018, I electronically filed the
foregoing with the clerk of the court by using the CM/ECF system, which will
send a notice of electronic filing to all interested parties.


                                   s/ Melody Brannon
                                   MELODY BRANNON, #17612

                                   s/ Rich Federico
                                   RICH FEDERICO, #22111




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